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IN THE UNITED sTATEs DIsTRICT CoURT 0540 H""~~~r;)
FOR THE wEsTERN DISTRICT oF TENNES sEE
EAsTERN DIvIsIoN ,»»_,

 

ROGER D. RILEY,

 

Plaintiff,
VS. NO. 1-04-1267-T-P

WAL-MART STORE #335, WAL-MART
ASSOCMTES, INC., WAL-MART STORES,
lNC., WAL-MART STORES EAST, INC., A&M
CLEAN]NG PRODUCTS, INC., BIO-LAB, INC.,
individually and as Owner of A&M CLEANING
PRODUCTS, INC., BIO-LAB, INC., as a wholly-
Owned subsidiary of GREAT LAKES CHEMICAL
CORPORATION, GREAT LAKES CHEMICAL
CORPORATION, Individually AUTOMATED
PACKAGING SYSTEMS, INC., AUTOMATED
PACKAGING SYSTEMS SOUTHEAST, LlJC,
CKS PACKAG[NG, INC., and PACKAGE
SUPPLY & EQUIPMENT CO., INC.,

Defendants.

 

ORDER GRAN'I`ING MOTION OF DEFENDANT, CKS PACKAGING, INC., FOR
EXTENSION OF TIME TO RESPOND TO AMENDED COl\/[PLAINT

 

This matter having come before the Court upon the Motion of Defendant, CKS Packaging,
lnc. (hereinafter known as "CKS“), for an extension until July 29, 2005 in which to file a response
to Plaintiff's Amended Cornplaint, and the Coui't having found that said Motion is well taken,

It is hereby ORDERED that Defendant, CKS Packaging, Inc. (hereinafter known as "CKS ")
shall have until July 29, 2005 in which to file a response to Plaintiff's Amended Complaint in the

above entitled action.

This document entered on the docket sheet In compliance
with Flule 58 and.'or_?Q (a) FRCP on 3‘

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IT IS SO ORDERED.

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U.S. D'ISTR-IGT-GOURT JUDGE

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J:\05-744\ORDER FOR EXTENSION OF TIME.wpd

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:04-CV-01267 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

